         Case 3:18-cr-00195-JAM Document 54 Filed 08/10/18 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 UNITED STATES OF AMERICA                         CRIMINAL NO. 3:17mj1418 (SALM)

         v.

 FAREED AHMED KHAN

    UNOPPOSED MOTION FOR A HEARING PURSUANT TO MISSOURI V. FRYE

       By this motion, the government requests a hearing pursuant to Missouri v. Frye, 566 U.S.

133 (2012) to insure that the defendant Fareed Khan has been fully apprised of the current

outstanding plea offer. In Missouri v. Frye, 566 U.S. 133, 145 (2012), the Supreme Court held that

the Sixth Amendment confers on defense counsel “the duty to communicate formal offers from

the prosecution to accept a plea on terms and conditions that may be favorable to the accused.” A

so-called Frye hearing aims to ensure that defense counsel has discharged that duty.

       The government and defense counsel have conferred concerning this motion, and the

defense has no objection to the motion or the hearing. Both parties are available next Friday,

August 17, 2018.

                                             Respectfully submitted,

                                             JOHN H. DURHAM
                                             UNITED STATES ATTORNEY
                                             /s/
                                             VANESSA RICHARDS
                                             ASSISTANT UNITED STATES ATTORNEY
                                             Federal Bar No. phv05095
                                             1000 Lafayette Blvd., 10th Floor
                                             Bridgeport, CT
                                             (203) 696-3016
          Case 3:18-cr-00195-JAM Document 54 Filed 08/10/18 Page 2 of 2




                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 10, 2018, the foregoing motion was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system or by mail to anyone unable to accept electronic filing. Parties may access

this filing through the Court’s system.



                                                       /s/ VANESSA RICHARDS
                                                       ASSISTANT U.S. ATTORNEY
                                                       Federal Bar No. phv05095
                                                       1000 Lafayette Blvd, 10th Floor
                                                       Bridgeport, CT 06604
                                                       203-696-3000




                                                  2
